Case 2:18-cv-00639-MSD-DEM Document 6 Filed 03/01/19 Page 1 of 3 PageID# 30



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  CIVIL DIVISION

JEWEL BULLOCK JONES,

       Plaintiff,                                        Case No. 2:18-CV-00639-MSD-DEM

v.

STERLING,

      Defendant.
________________________________________/

                 DEFENDANT STERLING JEWELERS INC.’S
      ANSWER AND DEFENSES TO THE PLAINTIFF’S AMENDED COMPLAINT

       Defendant Sterling Jewelers Inc. (“Sterling”), improperly named in the Complaint as

“Sterling”), by and through undersigned counsel and pursuant to Rule 12 of the Federal Rules of

Civil Procedure, hereby files its Answer and Defenses to the Plaintiff’s Amended Complaint,

and states:

                              ANSWER TO THE COMPLAINT

       1.      Admitted that Plaintiff attempts to bring an action under the Fair Credit Reporting

Act. Denied that Sterling violated the Fair Credit Reporting Act or that Plaintiff is entitled to

succeed on any claims.

       2.      Admitted for jurisdictional purposes only. Otherwise, denied.

       3.      Without knowledge and therefore denied.

                                           COUNT I

     VIOLATION OF THE FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681

               WILLFUL NON-COMPIANCE BY DEFENDANT STERLING

       4.      Without knowledge and therefore denied.




                                              -1-
Case 2:18-cv-00639-MSD-DEM Document 6 Filed 03/01/19 Page 2 of 3 PageID# 31



       5.       Without knowledge and therefore denied.

       6.       Denied.

       7.       Denied.

       8.       Denied that Plaintiff is entitled to any damages or relief of any kind.

                                             COUNT II

   VIOLATION OF THE FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C. §1681

             NEGLIGENT NON-COMPIANCE BY DEFENDANT STERLING

       9.       Without knowledge and therefore denied.

       10.      Without knowledge and therefore denied.

       11.      Denied.

       12.      Denied that Plaintiff is entitled to any damages or relief of any kind.

                                     PRAYER FOR RELIEF

       13.      Denied that Plaintiff is entitled to any damages or relief of any kind.

       14.      Denied that Plaintiff is entitled to any damages or relief of any kind.

       15.      Denied that Plaintiff is entitled to any damages or relief of any kind.

       16.      Denied that Plaintiff is entitled to any damages or relief of any kind.

       17.      Denied that Plaintiff is entitled to any damages or relief of any kind.

                          AFFIRMATIVE AND OTHER DEFENSES

                          FIRST DEFENSE – LACK OF STANDING

       18.      The Plaintiff has not alleged or suffered actual harm and has not alleged or

suffered a concrete injury sufficient to establish standing under Article III of the United States

Constitution.




                                                -2-
Case 2:18-cv-00639-MSD-DEM Document 6 Filed 03/01/19 Page 3 of 3 PageID# 32



                                       SECOND DEFENSE

     FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED 

       19.     Counts I and II of the Complaint both fail to state a claim for violation of the Fair

Credit Reporting Act.

                         THIRD DEFENSE – CONSENT OBTAINED

       20.     The Plaintiff gave Sterling consent for Sterling to obtain a copy of the Plaintiff’s

credit report in connection with an application for an extension of credit to Plaintiff. Thus,

Sterling did not violate the Fair Credit Reporting Act.

                        FOURTH DEFENSE – LACK OF DAMAGES

       21.     Count II of the Complaint fails because the Plaintiff did not suffer any actual

damages.

                     DEMAND FOR ATTORNEYS’ FEES AND COSTS

       Pursuant to 15 U.S.C. 1681n(c) and 15 U.S.C. 1681o(b), Sterling hereby demands an

award of its attorneys’ fees and costs incurred in this action.

DATED: March 1, 2019.                          Respectfully submitted,


                                               /s/ Joshua A. Mize
                                               Joshua A. Mize, Esq.
                                               Virginia Bar No. 90413
                                               MIZE LAW, PLLC
                                               110 Front Street, Suite 300
                                               Jupiter, FL 33477
                                               Phone: (407) 913-6800
                                               Fax: (407) 604-7410
                                               jmize@mize.law

                                               Attorney for the Defendant,
                                               Sterling Jewelers Inc.




                                                -3-
